Case 8:17-mc-00109-CEH-AEP Document 87-1 Filed 03/22/18 Page 1 of 4 PageID 355



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 SEALED UNIT PARTS CO., INC.,

        Judgment Creditor,

 v.                                                 Case No. 8:17-mc-00109-CEH-AEP

 SYCOM SURGE, INC. N/K/A BREN
 TUCK, INC.; MARK TUCKER; DAVID
 ROSS BRENNAN; AND TURNER
 SOLUTIONS, INC.

       Judgment Debtors.
 ____________________________________/

      STIPULATED FINAL JUDGMENT ON WRIT OF GARNISHMENT TO
               BRANCH BANKING AND TRUST COMPANY

        THIS MATTER is before the Court on Judgment Creditor, Sealed Unit Parts Co., Inc.’s,

 Writ of Garnishment to Branch Banking and Trust Company (“BB&T”) (D.E. 11).

        On October 18, 2017, Judgment Creditor filed its Ex Parte Motion for Writ of

 Garnishment to BB&T (D.E. 11). The Court clerk duly issued the Writ of Garnishment to

 BB&T on the same day.

        In accordance with Section 77.041, Florida Statutes, Judgment Creditor served a copy of

 its Ex Parte Motion for Writ of Garnishment to BB&T, a copy of the Writ of Garnishment issued

 to BB&T, and the statutory Notice to Defendants of their Rights Against Garnishment of Wages,

 Money, and Other Property, to each Defendants’ last known address within five (5) business

 days after the Writ of Garnishment to BB&T was issued. See Notice of Filing D.E. 20. The Writ

 of Garnishment was served on BB&T by the United States Marshalls Service on November 9,

 2017. See Notice of Filing Return of Service (D.E. 29).

        On November 21, 2017, BB&T filed its answer to the Writ of Garnishment (D.E. 32).
Case 8:17-mc-00109-CEH-AEP Document 87-1 Filed 03/22/18 Page 2 of 4 PageID 356



 BB&T’s answer revealed that it held five (5) accounts believed to be subject to the Writ of

 Garnishment including: (1) Account No. XXXX8603 in the name of the Lauren Jones

 Irrevocable Trust, containing $4,452.95; (2) Account No.: XXXX9840 in the name of Mark

 Tucker, containing $129.21; (3) Account No.: XXXX6606 in the name of Justin D. Turner and

 Mark Tucker, containing $218.27; (4) Account No.: XXXX6387 in the name of Mark Tucker,

 containing $105.00; and (5) Account No.: XXXX5931 in the name of Turner Solutions Inc.

 containing $42,170.00.

        In accordance with Section 77.055, Florida Statutes, Judgment Creditor served a copy of

 BB&T’s answer and a notice advising Judgment Debtors that they must move to dissolve the

 writ of garnishment within 20 days after the date indicated on the certificate of service in the

 notice if any allegation in the Motion for Writ of Garnishment is untrue. See Notice of Filing

 (D.E. 34).

        The only Judgment Debtor to file a response or objection to the Writ of Garnishment to

 BB&T was David Ross Brennan. On November 30, 2017, Mr. Brennan filed a Motion to

 Dissolve In Part the Writ of Garnishment to BB&T (D.E. 39). The Motion sought to dissolve the

 Writ of Garnishment to BB&T only insofar as it garnished Account No.:             Account No.

 XXXX8603 in the name of the Lauren Jones Irrevocable Trust, contending Mr. Brennan is a

 trustee and non-beneficiary of that particular account.   The Motion did not challenge Judgment

 Creditor’s garnishment of any of the other four accounts identified in BB&T’s Answer.       On

 December 15, 2017, Mr. Brennan filed a separate Claim of Exemption and Request for Hearing

 (D.E. 62) stating the same limited objection to garnishment with respect to Account No.

 XXXX8603 in the name of the Lauren Jones Irrevocable Trust.




                                                 2
Case 8:17-mc-00109-CEH-AEP Document 87-1 Filed 03/22/18 Page 3 of 4 PageID 357



          No other responses, objections, or claims of exemption have been filed with respect to the

 Writ of Garnishment to BB&T. Accordingly it is

          ORDERED and ADJUDGED as follows:

          1.     Judgment Creditor, Sealed Unit Parts Co., Inc., shall receive and recover from

 Garnishee, Branch Banking and Trust Company, whose address is c/o Alissa M. Ellison, Esq.

 GrayRobinson, P.A., 401 E. Jackson Street, Suite 2700, Tampa, Florida 33602, all funds in any

 account to which Judgment Debtors have signatory authority, including, but not limited to: (1)

 Account No.: XXXX9840 in the name of Mark Tucker; (2) Account No.: XXXX6606 in the

 name of Justin D. Turner and Mark Tucker; (4) Account No.: XXXX6387 in the name of Mark

 Tucker; and (5) Account No.: XXXX5931 in the name of Turner Solutions Inc.

          2.     Notwithstanding the foreoing, the Writ of Garnishment is hereby dissolved with

 respect to Account No. XXXX8603 in the name of the Lauren Jones Irrevocable Trust.

          3.     Garnishee shall release all monies due and payable under the Writ of Garnishment

 to Judgment Creditor to Greenberg Traurig, P.A.’s trust account at the following address: c/o

 Michael H. Moody, Esq., Greenberg Traurig, P.A., 101 E. College Ave., Tallahassee, Florida

 32301.

          4.     Garnishee, Branch Banking and Trust Company, is entitled to collect $100.00 in

 garnishee attorney’s fees and costs from the accounts withheld under the Writ of Garnishment,

 which amount is taxable by Judgment Creditor against Judgment Debtors and shall bear interest

 at the legal rate, for all of which let execution issue.

          5.     This Court reserves jurisdiction to enter all further orders as necessary, including

 but not limited to, all orders necessary to enforce this judgment and to enter an award of

 Judgment Creditors’ costs against Judgment Debtors.



                                                     3
Case 8:17-mc-00109-CEH-AEP Document 87-1 Filed 03/22/18 Page 4 of 4 PageID 358



        6.      This judgment is without prejudice to Judgment Creditors’ rights to collect should

 Garnishee become indebted to Judgment Debtors at any time in the future.

        DONE AND ORDERED, in Chambers in Tampa, Florida on this _____ day of

 March, 2018.




                                             ____________________________________
                                             U.S. District Judge Charlene E. Honeywell




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